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UNITED STATES BANKRUPTCY COURT
DISTRICT OF SOUTH DAKOTA
CENTRAL DIVISION

 

In Re: Case No, 05-30027
Chapter 11

Si TANKA UNIVERSITY UNITED STATES OF AMERICA'S
MOTION FOR 2004 EXAMINATION
AND PRODUCTION OF

Debtor. DOCUMENTS

 

COMES NOW the United States of America by and through Michelle G. Tapken, Acting
United States Attorney, and Stephanie C, Bengford, Assistant United States Attorney, and moves
this Court for a 2004 examination and for production of documents on the following grounds and
terms:

1. The above-named Debtor filed a voluntary Chapter 11 Bankruptcy Petition in on
April 9, 2005.

2. This Court has jurisdiction pursuant to 28 U.S.C. §1334, 28 U.S.C. §157, and the
Order of General Reference, dated July 27, 1984, entered by the United States District Court,
District of South Dakota.

3. This Motion arises under Bankruptcy Rule of Procedure 2004,

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4. Under Bankruptcy Rule of Procedure 2004, the Court, on the motion of any party in
interest, may order the examination of the Debtor and the production of documentary evidence at
any time or place it designates, which motion may be heard ex parte.

5. The movants, the United States, on behalf of the United States Department of
Agriculture, Rural Housing Service; the Department of Treasury, Internal Revenue Service; and the
United States Department of Education are all creditors in the above-entitled matter. Debtor
alleges that RHS is not a creditor based upon its "two-entity" theory. The United States respectfully
disagrees. The United States has an interest in examining Debtors as to and documents relating to
“the acts, conduct, or property or to the liabilities and financial condition of the debtor, or to any
matter which may affect the administration of the debtor's estate, or to the debtor's right to a
discharge” as permitted by Rule 2004.

6. The United States needs the opportunity to examine the Debtor and select records
of the Debtor to properly protect itself, including, but not limited to, issues relating to the pending
motion for relief; prepare for any forthcoming adversary proceedings; prepare for matters relating to
the Debtor's right to a discharge; inquire as to Debtor's ability to reorganize and confirm a Plan; and
inquire as to all other matters relevant to the case.

7. The United States desires to examine the Debtor on August 10, 2005,
commencing at 9:30 a.m., at the office of the United States Attorney, 230 South Phillips Avenue,
Suite 600, Sioux Falls, South Dakota; OR, 337 Federal Building, 225 South Pierre Street, Pierre,

South Dakota.

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The United States requests the Debtor to produce at the office of the United States

Attorney, 230 South Phillips Avenue, Sioux Falls, South Dakota, on or before 1:00 p.m. on July 21,

2005, for purposes of review and photocopying, the following described information and

documents:

all documentation indicating the earnings of the Eagle Butte campus
and the Huron campus [the United States notes that it is referring to
the Huron campus and the Eagle Butte campus instead of Debtor
solely because it knows that Debtor claims that Debtor is only the
Eagle Butte campus; as set forth above, the United States disagrees
with this position] from April 26, 2001, to the present.

all documentation regarding the current status of Debtor's accreditation and
documentation regarding the accreditation of the Huron Campus and the
Eagle Butte campus for school years 2002-03, 2003-04, and 2004-05.

all Federal Perkins Account Ledgers for the Eagle Butte campus and the
Huron campus for the 2001-02, 2002-03, 2003-04, and 2004-05 award years

Federal Perkins Disbursement Rosters/Ledgers for the 2001-02, 2002-03,
2003-04 and 2004-05 award years

all tax returns for the Eagle Butte campus from 2000 to the present; all tax
returns for the Huron campus from 2001 to the present

Federal Perkins Account bank statements for June 2004 through April 2005

billing servicer statements/invoices from July 1, 2004, to date of bankruptcy
filing

documentation setting forth the balance of the Federal Perkins bank account
as of April 9, 2005

all documentation indicating how much either the institution or billing
servicer collected on Perkins loans from July 1, 2004, to April 9, 2005

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j. all documentation indicating whether or not the Huron campus or the Eagle
Butte campus returned any Perkins Loan Fund excess cash to the
Department of Education from July 1, 2004, to April 9, 2005

k. documentation indicating the number of students who actually participated in
summer school

I. documentation indicating how the students who participated in summer
school paid for their tuition

m. all documentation from the 2004-05 school year indicating how the Perkins
cash on hand was expended

n. copies of all the Perkins promissory notes

0, all documents supporting Debtor's contention that Debtor's estate does not
include the Huron campus

p. all documentation supporting Debtor's contention that the property that it
removed from the Huron campus was purchased by grant money and all
documentation supporting Debtor's allegations that the grant money is only
grant money of the Eagle Butte campus

q. copy of all Self Study Report(s) that Debtor submitted from 2001 to the
present to the Higher Learning Commission in support of its accreditation

r. copy of all the Comprehensive Visit Report(s) that Higher Learning
Commission provided regarding the Huron campus and/or the Eagle Butte
campus

s, copy of all correspondence with the Higher Learning Commission between it
and Debtor, the Eagle Butte campus, or the Huron campus within the last
twelve months

t. copies of any audits performed of the Huron campus or the Eagle Butte
campus from April 1, 2001, to the present

U. assuming Debtor's two-entity position is correct, which the United States
disputes, copies of all documentation explaining the interrelationship
between the “two-entities"

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aa.

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CC,

dd.

ee.

all organizational documents for the Huron campus or the Eagle Butte
campus

most recent financial statement, prior to Debtor filing bankruptcy, of the

Huron campus and the most recent financial statement, prior to Debtor filing
bankruptcy, of the Eagle Butte campus

all minutes of the Board of Regents’ meetings for either the Huron Campus,
the Eagle Butte campus, or both the Huron and the Eagle Butte campus
from April 1, 2001, to the present

documentation indicating all members of the Board of Regents since April
2001

all documentation indicating the inventory of the personal property at the
Eagle Butte campus

provide all documentation setting forth the procedures that are to be
followed before a final decision could be made involving the Huron campus
or the Eagle Butte campus

provide documentation setting forth the names of all individuals who have
acted as the chief financial officer since April 2001 to the present for the
Eagle Butte campus and the Huron campus

provide documentation setting forth the names of all individuals who have
acted as the director of financial aid since April 2001 to the present for the
Eagle Butte campus and the Huron campus

provide all tribal ordinances in the Debtor's possession that mention either
the Huron campus or the Eagle Butte campus and discuss the financial
status of the school, financial decisions relating to the school, the budget of
the school, grant money, the separate formation of the Huron campus as
alleged by Debtor (which the United States disputes as set forth above), or
the acquisition or merger of Huron University by Debtor.

provide all tribal minutes in the Debtor's possession that mention either the
Huron campus or the Eagle Butte campus and discuss the financial status of
the school, financial decisions relating to the schooi, the budget of the
school, grant money, the separate formation of the Huron campus as

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alleged by Debtor (which the United States disputes as set forth above), or
the acquisition or merger of Huron University by Debtor

ff. all documentation setting forth and/or explaining why there is a tribal charter
and a state charter as alleged by Debtor and as to why Debtor claims to
have a state charter and a tribal charter

gg.  acopy of the Articles of Incorporation for the Eagle Butte campus and the
Huron campus

hh. all documentation explaining why Debtor changed its name in February
2005 and all documentation relating to the name change

ii copies of all monthly reports provided to the Tribal Council for either the
Eagle Butte campus or the Huron campus from April 2001 to the present

ij. copies of all by-laws in effect for the Eagle Butte campus or the Huron
campus from August 2000 to the present and any amendments to the by-
laws from August 2000 to the present

kk. any documentation indicating that Vivian High Elk was paid any money
following her termination of employment

ll. any documentation indicating that Debtor's loan with the State Bank of
Eagle Butte has been extended and if so the terms of the extension or any
documentation indicating that Debtor's request for an extension of its loan
with the State Bank of Eagle Butte was denied

mm. all documentation relating to the Debtor's application for, receipt of and use
of any grant funds from the United States Department of Education

nn. —_ all documentation relating to the Debtor's application for eligibility and
certification to participate in the federa! student financial aid programs
administered by the United States Department of Education

oo. all documents relating to or mentioning the merger between the Huron
campus and the Eagle Butte campus

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pp. assuming Debtor's two-entity position is correct, which the United States
disputes, copies of all documentation discussing the formation of the two-
separate entities

qq. copies of all documents relating to the establishment, formation, or
incorporation of the Eagle Butte campus

rr, copies of all documents from April 2001 to the present relating to the
establishment, formation, or incorporation of the Huron campus

9. The foregoing date and location has been discussed and agreed upon by the
attorney for the Debtor and the United States. Counsel have not discussed the deadline set for
production of documents. Counsel for the United States has informed Mr. Gerry that she will need
at least some of the listed documents prior to the evidentiary hearing set for July 26. Counsel have
not discussed specific documents. Mr. Gerry contacted the undersigned's assistant and indicated
that the he would not be available the week of July 18, 2005, or August 1, 2005. He indicated that
possibly August 3 would work, and that he would be available August 10, 2005. Bruce Gering,
U.S. Trustee, also contacted the undersigned's assistant via email on July 6, 2005, and indicated
that if he is available on the date the exam is scheduled to take place, he would attend said exam.

WHEREFORE, the United States prays for the following:

1. An Order requiring Debtor be present themselves for a 2004 examination on
August 10, 2005, commencing at 9:30 a.m., at the office of United States Attorney, 230 South
Phillips Avenue, Suite 600, Sioux Falls, South Dakota; OR, 337 Federal Building, 225 South Pierre

Street, Pierre, South Dakota, such examination to continue until adjourned by the United States.

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2. An Order from the Court requiring that the above documents be produced on or
before 1:00 p.m. on July 21, 2005, for the purposes of inspection and or photocopying or a
photocopy of the original may be provided if Debtor chooses.

3, Debtor shall provide for testimony at least the following individuals: the current
President, Francine Hall; Bob Hall; the current Chief Financial Officer; and the current director of
financial aid, but that the United States shall have the right to continue the 2004 exam upon a
mutually agreeable date or a subsequent order from the Court if any agreement cannot be reached
should testimony of the aforementioned individuals reveal the testimony of additional employees
would assist in provide information obtainable pursuant to Rule 2004,

4, The time, place and terms of the examination be changed only upon mutual
agreement by all parties and their attorneys or by further Order of the Court.

Date: July 12, 2005

MICHELLE G. TAPKEN
Acting United States Attorney

AX teeny Rugby

Stephanie C. Bengford
Assistant U.S. Attorney

PO Box 3303

Sioux Falls, SD 57101-3303
605-330-4401, ext. 125

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on July 12, 2005, the foregoing UNITED
STATES OF AMERICA'S MOTION FOR 2004 EXAMINATION AND PRODUCTION OF

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DOCUMENTS was electronically transmitted, mailed, hand delivered or faxed to the following

interested parties:

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